11-12942-tmd Doc#123 Filed 05/08/14 Entered 05/08/14 09:43:48 Main Document Pg 1 of
                                         3


  B 210A (Form 210A) (12/09)



                          UNITED STATES BANKRUPTCY COURT
                                         FOR THE WESTERN DISTRICT OF TEXAS

  In re ________________________________,
           Kelly L Knapper                                                                           Case No. ________________
                                                                                                                 11-12942




                      TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
  hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
  than for security, of the claim referenced in this evidence and notice.



     eCAST Settlement Corporation
  ______________________________________                                       Capital One, N.A.
                                                                              ____________________________________
            Name of Transferee                                                            Name of Transferor

  Name and Address where notices to transferee                                 Court Claim # (if known):               8
  should be sent:                                                              Amount of Claim:                        1154.47
         eCAST Settlement Corporation                                          Date Claim Filed:                       11/13/2013
         c/o Bass & Associates, P.C.
         3936 E Ft. Lowell, Suite 200
         Tucson, AZ 85712

  Phone: ______________________________
          (520) 577-1544 (Servicer)                                            Phone:    (520) 577-1544 (Servicer)
  Last Four Digits of Acct #: ______________
                                    3364                                       Last Four Digits of Acct. #: __________
                                                                                                               3364
                                                                                       Transferor Address:
  Name and Address where transferee payments                                           Capital One, N.A.
                                                                                       c/o Bass & Associates, P.C.
  should be sent (if different from above):                                            3936 E Ft. Lowell, Suite 200
         eCAST Settlement Corporation                                                  Tucson, AZ 85712
         PO Box 7247-6971
         Philadelphia, PA 19170-6971

  Phone: (520) 577-1544 (Servicer)
  Last Four Digits of Acct #:               3364




  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

         /s/ Kathy Douglass
  By:__________________________________                                                 4/7/2014
                                                                               Date:____________________________
         Transferee/Transferee’s Agent
             %YXLSVM^IH6ITVIWIRXEXMZI
                 
                        ! "##
             $ % &'()"
             *'"#+ '((,)'--
              ./0, 1


  4IREPX]JSVQEOMRKEJEPWIWXEXIQIRX*MRISJYTXSSVMQTVMWSRQIRXJSVYTXS]IEVWSVFSXL97' 
11-12942-tmd Doc#123 Filed 05/08/14 Entered 05/08/14 09:43:48 Main Document Pg 2 of
                                         3
11-12942-tmd Doc#123 Filed 05/08/14 Entered 05/08/14 09:43:48 Main Document Pg 3 of
                                         3
